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                            IN THE UNITED STATES DISTRICT COT'RT FOR rlld!,uts:fi:i:  cluR
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                                                                                  'i:r
                                    SOUTHERNDISTRICT OF GEORGIA
                                          DIJBLIN DfVISION
                                                                                                                    2llr'NOy| 9
UNITED STATES OF AMERICA
                                                                                                               ;LT
              VS.                                                      *          ^D     ?1?-nn?                                          C F6 A

RONALD HARRELL




                                                                   ORDER


              Defendant has fifed                           a mot-ion for              reductlon         of sentence under
'1
  B U.S.C.                  S 3582(c) (2) on rhe basis                                  L h a t . A m e n d r n e n t7 8 2 t o            the

United              States           Sentencing               Guidelines               has revised             Lhe guidelines
               j^-l-\'^                         -rrf
d- ^P^P' r f r q v           r^      ^r,,^                 Fi-1"!n^        .\f fanaaa           trrzon   rL- rhrnur runvhr r    Aman/lrn/--|


782 became effeccive                                   on November 1,                   201,4, no defendant                         may be

refeased                   on      the         basis          of      the        retroactive             amendment before

November 1, 2015.                              See U.S.S.G. Amend. 7BB,                            Thus, the Courc will

undertake                  a review of cases involving                                   drug trafficking                        offenses

in due course.                            If   Defendant is                 entitled         to a sentence reduction

as        a       result             of        amendments to                  the       Unj-ted       States                   Sentencing

Cuideijnes,                       the        Court         LVill      make such a              reduction                sua sponte.

Accordingly,                      D e fe n d a n t ' s       motion          (doc. no. 795) is                   DEFERRE!.1

              ORDER             ENTERED              ar      Augusta,                               thi s

November,                  2014.


                                                                                  UNITED STAT S DISTRICT JUDG




              1           The cferk             is        directed          to    terminate           the       motion              for
:r'lmi - i sf ral            i ,ra    nttrn/rSeS.
